          Case 2:17-cv-02536-DGC Document 36 Filed 01/26/18 Page 1 of 1




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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
     Fernando Gastelum,                                No. CV17-2536 PHX DGC
 9
                           Plaintiff,                  ORDER
10
     v.
11
12   MCPHX17 LLC, et al.,

13                         Defendants.

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15            The Court has been advised that this case has settled. Doc. 35.
16            IT IS ORDERED:
17            1.    This matter will, without further Order of this Court, be dismissed with
18   prejudice within 30 days of the date of this order unless a stipulation to dismiss is filed
19   prior to the dismissal date.
20            2.    All pending hearings and deadlines are vacated.
21            3.    All pending motions are found to be moot.
22            4.    The Clerk is directed to terminate this matter on February 26, 2018
23   without further leave of Court.
24            Dated this 26th day of January, 2018.
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